 

UN|TED STATES DlSTRlCT COURT
MlDDLE DlSTRlCT OF TENNESSEE

 

AT NAsHvlLLE mg 553 iii PM iv 17
LARRY CHANEY, et ux. )
DANA cHANEY, )
)
P|aintiffs, )
)
v. ) No.
)
i
STATE FARM FlRE AND CASUALTY )
colleANY, )
)
Defendant. )
NOT|CE

TO: |\/|s. E|oise Gaither
Circuit Court C|erk
Rutherford County Circuit Court
201 Judicia| Buiiding
|V|urfreesboro, TN 37130

P|ease take notice that on the 14th day of December, 2009, defendant, State
Farm fire and Casua|ty Company, in case number 59897, pending before the Circuit
Court for Rutherford County, Tennessee removed said action to the United States
District Court for the |\/|idd|e District of Tennessee, Nashvi||e Division.

Respectfu||y submitted,

s/ Parks T. Chastain

PARKS T. CHASTA|N

Registration No. 13744

Attorney for Defendant, State Farm Fire and
Casua|ty Company

BREWER, KRAUSE, BROOKS,
CHASTA|N & BURROW, PLLC
P. O. Box 23890

Nashvi||e,TN 37202-3890
(615) 256-8787

ST Chaney Not Remove Rutherford C|k 091211
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CERT|F|CATE OF SERV|CE

l hereby certify that on this 14th day of December, 2009, a true and correct copy of
the foregoing has been sent, via first-class mai|, postage prepaid to:

Raymond G. Prince, Esquire

Prince & He||inger, PC

150 Second Avenue, North, Suite 300
Nashvi||e, TN 37201-1902

I\/|s. E|oise Gaither

Circuit Court C|erk

Rutherford County Circuit Court
201 Judicia| Building
l\/|urfreesboro, TN 37130

s/ Parks T. Chastain
PARKS T. CHASTA|N

PTC:dmt

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